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    Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &   FOR COURT USE ONLY
    Email Address

    CASSANDRA J. RICHEY
    CA NO. 155721
    BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
    20955 PATHFINDER ROAD SUITE 300
    DIAMOND BAR, CA 91765
    Phone: (626) 915-5714, Fax: (972) 661-7726
    E-mail: CDCAECF@BDFGROUP.COM
    FILE NO. 7753007




    ☐    Movant appearing without an attorney
    ☒    Attorney for Movant
 
                                               UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

    In re:                                                                   CASE NO.: 2:18-bk-18075-ER
 
    ROGELIO GONZALEZ,                                                        CHAPTER: 7
    aka ROGELIO GONZALEZ, JR.,
    dba ANC ELECTRIC, INC.,
    CAROL GONZALEZ,                                                                     NOTICE OF MOTION AND MOTION
    aka CAROL LYNN PEREZ GONZALEZ,                                                     FOR RELIEF FROM THE AUTOMATIC
                                                                                          STAY UNDER 11 U.S.C. § 362
                                                                                        (with supporting declarations)
 
                                                                                              (REAL PROPERTY)
 
                                                                             DATE: 9/24/2018
 
                                                                             TIME: 10:00 a.m.
                                                                   Debtor(s). COURTROOM: 1568

    MOVANT: WELLS FARGO BANK, N.A.

 


    1. Hearing Location:
 

             ☒ 255 East Temple Street, Los Angeles, CA 90012                        ☐ 411 West Fourth Street, Santa Ana, CA 92701
             ☐ 21041 Burbank Boulevard, Woodland Hills, CA 91367                    ☐ 1415 State Street, Santa Barbara, CA 93101
             ☐ 3420 Twelfth Street, Riverside, CA 92501
 
    2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
       parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
       granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
       attached Motion.
 
    3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
       preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
       the format required by LBR 9004-1 and the Court Manual.



               This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
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    4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
       was filed by an unrepresented individual) at the address set forth above.
 
    5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
       such failure as consent to granting of the motion.
 
 
    6.   ☒ This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
            you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
            the hearing.
 
    7.   ☐ This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
            motion, you must file and serve a response no later than (date)                            and (time)                    ; and, you
            may appear at the hearing.
 
         a. ☐ An application for order setting hearing on shortened notice was not required (according to the calendaring
              procedures of the assigned judge).
 
         b. ☐ An application for order setting hearing on shortened notice was filed and was granted by the court and such
              motion and order have been or are being served upon the Debtor and upon the trustee (if any).
 
         c. ☐    An application for order setting hearing on shortened notice was filed and remains pending. After the court
                 rules on that application, you will be served with another notice or an order that specifies the date, time and
                 place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
                 motion.



Date: 8/30/2018                                                                 BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
                                                                                Printed name of law firm (if applicable)


                                                                                CASSANDRA J. RICHEY
                                                                                Printed name of individual Movant or attorney for Movant


                                                                                /s/ Cassandra J. Richey
                                                                                Signature of individual Movant or attorney for Movant




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                MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY

    1. Movant is the:
 

         ☒      Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
                the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
         ☒      Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
                mortgage or deed of trust) or (2) is the assignee of the beneficiary.
         ☐       Servicing agent authorized to act on behalf of the Holder or Beneficiary.
         ☐      Other (specify):
 
    2.     The Property at Issue (Property):

         a. Address:

              Street address: 47 OAK CLIFF DRIVE
              Unit/suite no.:
              City, state, zip code: POMONA, CA 91766
 
         b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
            trust (attached as Exhibit 1 ): 04 0658827, Los Angeles County
 
    3. Bankruptcy Case History:
 
         a. A ☒ voluntary ☐ involuntary bankruptcy petition under chapter ☒ 7 ☐ 11 ☐ 12 ☐ 13
            was filed on (date) 7/16/2018.
         b. ☐ An order to convert this case to chapter             ☐ 7 ☐ 11 ☐ 12 ☐ 13 was entered on (date) ____________
         c. ☐ A plan, if any, was confirmed on (date)                           .            

    4.   Grounds for Relief from Stay:

         a. ☒ Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
             (1) ☐ Movant’s interest in the Property is not adequately protected.
                  (A) ☐ Movant’s interest in the Property is not protected by an adequate equity cushion.
 

                  (B) ☐ The fair market value of the Property is declining and payments are not being made to Movant
                        sufficient to protect Movant’s interest against that decline.
 

                  (C) ☐ Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                        obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
 

             (2) ☐ The bankruptcy case was filed in bad faith.
 

                  (A) ☐ Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                        commencement documents.
                  (B) ☐ The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
                  (C) ☐ A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                        filing this bankruptcy case.
 

                  (D) ☐ Other bankruptcy cases have been filed in which an interest in the Property was asserted.
 

                  (E) ☐ The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                        and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
 

                  (F) ☐ Other (see attached continuation page).

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             (3) ☐ (Chapter 12 or 13 cases only)
 

                 (A) ☐ All payments on account of the Property are being made through the plan.
                       ☐ Preconfirmation ☐ Postconfirmation plan payments have not been made to the chapter 12
                       trustee or chapter 13 trustee.
 
                 (B) ☐ Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                       been made to Movant.
 

             (4) ☒ The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property,
             attached as Ex. 8.
 
             (5) ☐ The Movant regained possession of the Property on (date)                                 ,
                      which is ☐ prepetition ☐ postpetition.
 
             (6) ☐ For other cause for relief from stay, see attached continuation page.
 
         b. ☒ Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
              § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

         c. ☐    Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                 30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                 11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

         d. ☐ Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
              hinder, or defraud creditors that involved:
 

             (1) ☐ The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                   court approval; or
 

             (2) ☐ Multiple bankruptcy cases affecting the Property.

    5. ☐ Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.
         a. ☐ These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
              been entitled to relief from the stay to proceed with these actions.

         b. ☐ Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
              with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit   .

         c. ☐    Other (specify):
 

    6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
       motion)

         a. The REAL PROPERTY DECLARATION on page 6 of this motion.
         b. ☐ Supplemental declaration(s).
         c. ☒    The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                 forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                 commencement documents are attached as Exhibit 5,6 & 7          .
 

         d. ☒    Other: See attached Continuation Page.
 
    7.     ☐ An optional Memorandum of Points and Authorities is attached to this Motion.

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    Movant requests the following relief:
 
    1. Relief from the stay is granted under: ☒ 11 U.S.C. § 362(d)(1) ☒ 11 U.S.C. § 362(d)(2) ☐ 11 U.S.C. § 362(d)(3).

    2. ☒    Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
            remedies to foreclose upon and obtain possession of the Property.

    3. ☐    Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
            modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
            servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement.

    4. ☐    Confirmation that there is no stay in effect.

    5. ☐    The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
            enforce its remedies regarding the Property shall not constitute a violation of the stay.

    6. ☐    The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
            the same terms and conditions as to the Debtor.

    7. ☒    The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

    8. ☐    A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
            ☐ without further notice, or ☐ upon recording of a copy of this order or giving appropriate notice of its entry in
                compliance with applicable nonbankruptcy law.

    9. ☐    Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
            governing notices of interests or liens in real property, the order is binding in any other case under this title
            purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
            except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
            circumstances or for good cause shown, after notice and hearing.

    10. ☐ The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
          interest in the Property for a period of 180 days from the hearing of this Motion:
           ☐ without further notice, or ☐ upon recording of a copy of this order or giving appropriate notice of its entry in
               compliance with applicable nonbankruptcy law.
 
    11. ☐ The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
 

            ☐ without further notice, or ☐ upon recording of a copy of this order or giving appropriate notice of its entry in
                compliance with applicable nonbankruptcy law.

    12. ☐ Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
          Code § 2920.5(c)(2)(C).
    13. ☐ If relief from stay is not granted, adequate protection shall be ordered.
    14. ☐ See attached continuation page for other relief requested.
 



Date: 8/30/2018                                                               BARRETT DAFFIN FRAPPIER TREDER & WEISS, LLP
                                                                              Printed name of law firm (if applicable)

                                                                               CASSANDRA J. RICHEY
                                                                               Printed name of individual Movant or attorney for Movant

                                                                               /s/ Cassandra J. Richey
                                                                               Signature of individual Movant or attorney for Movant


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    DECLARATION OF SASHA L. ANDERSON
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REQUEST FOR JUDICIAL NOTICE PURSUANT TO FEDERAL RULES OF EVIDENCE 201 REGARDING LIENS ON 
PROPERTY LOCATED AT 47 OAK CLIFF DRIVE, POMONA, CA  91766 OF PUBLIC RECORD PURSUANT TO 
ATTACHED TITLE SALE GUARANTY IN CLIENT’S BOOKS AND RECORDS; ALSO REFLECTED IN DEBTORS 
STATEMENT OF AFFAIRS AND SCHEDULES: 

 

1ST Deed of Trust       Wells Fargo Bank (Movant)                  $240,000.00 
                                                                    
OTHER LIENS:                                                        
Deed of Trust           Walters Wholesale Electric Co.             $24,392.86 
Tax Lien                Franchise tax Board                        $12,249.22 
Abstract of Judgment    Citibank (South Dakota) N.A.               $3,084.47 
Tax Lien                FTB                                        $4,669.42 
Tax Lien                FTB                                        $1,956.53 
Tax Lien                FTB                                        $2,454.84 
Tax Lien                FTB                                        $70,241.21 
Abstract of Judgment    Midland Funding LLC                        $6,027.26 
Deed of Trust           Crossroads Travel Center, LLC              $55,000.00 
Abstract of Judgment    Walters Wholesale Electric Co.             $16,041.17 
Tax Lien                IRS                                        $20,765.03 
Abstract of Judgment    Creditors Adjustment Bureau, Inc.          $118,358.60 
Tax Lien                FTB                                        $4,002.88 
Tax Lien                FTB                                        $3,272.21 
Tax Lien                FTB                                        $9,003.22 
Sub‐Total                                                          $351,518.92 
                                                                    
                                                                    
                                                                    
Total                                                              $591,518.92 
 
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                                             PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
20955 PATHFINDER ROAD, SUITE 300 DIAMOND BAR, CA 91765


A true and correct copy of the foregoing document entitled (specify): NOTICE OF MOTION AND MOTION FOR RELIEF
FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
8/30/2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following
persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

         United States Trustee/Los Angeles: ustpregion16.la.ecf@usdoj.gov
         Brad D. Krasnoff: BDKTrustee@dgdk.com, bkrasnoff@ecf.epiqsystems.com, DanningGill@gmail.com
         Peter L. Lago: pllago@msn.com, r53835@notify.bestcase.com
         Valerie Smith: claims@recoverycorp.com
         Edward A. Treder: cdcaecf@BDFGroup.com
                                                                                        ☐ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 8/30/2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

Judge: Hon. Ernest M. Robles, U.S. Bankruptcy Court, 255 E. Temple St., Ste. 1560, Los Angeles, CA 90012
Debtors: Rogelio Gonzalez aka Rogelio Gonzalez, Jr. dba ANC Electric, Inc., Carol Gonzalez aka Carol Lynn Perez
Gonzalez, 47 Oak Cliff Dr., Pomona, CA 91766
Attorney for Debtors: Peter L. Lago, 8060 E. Florence Ave., Ste. 305, Downey, CA 90241
Trustee: Brad D. Krasnoff, 1900 Ave. of the Stars, 11th Fl., Los Angeles, CA 90067-4402

                                                                                         ☒ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _         ______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

                                                                                        ☐ Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 
8/30/2018                       CASSANDRA J. RICHEY                                               /s/ Cassandra J. Richey
  Date                                    Printed Name                                              Signature


                This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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CONTINUED FROM SECTION 2, ADDITIONAL SERVICE LIST 

CREDITORS 
 
WALTERS WHOLESALE ELECTRIC CO 
ATTN MANAGING/SERVICING AGENT 
2825 TEMPLE 
SIGNAL HILL CA 90755 
 
WALTERS WHOLESALE ELECTRIC CO 
C/O STEVEN A JONES 
MADDEN JONES COLE & JOHNSON APC 
3030 OLD RANCH PARKWAY STE 100 
SEAL BEACH CA 90740       
 
WALTERS WHOLESALE ELECTRIC CO 
C/O YANNA J LI 
MADDEN JONES COLE & JOHNSON APC 
3030 OLD RANCH PARKWAY STE 100 
SEAL BEACH CA 90740       
 
CROSSROADS TRAVEL CENTER LLC 
ATTN MANAGING/SERVICING AGENT 
1138 E 20TH STREET 
UPLAND CA 91784 
 
INTERNAL REVENUE SERVICE 
ATTN MANAGING/SERVICING AGENT 
24000 AVILA RD M/S 5905 
LAGUNA NIGUEL CA 92677 
 
STATE OF CALIFORNIA 
FRANCHISE TAX BOARD SPECIAL PROCEDURES SECTION 
ATTN MANAGING/SERVICING AGENT 
PO BOX 2952 
SACRAMENTO CA 95812‐2952 
 
CITIBANK (SOUTH DAKOTA) NA 
C/O MICHAEL S HUNT ESQ 
151 BERNAL ROAD STE #8 
SAN JOSE CA 95119 
 
CITIBANK (SOUTH DAKOTA) NA 
C/O JANALIE HENRIQUES ESQ 
151 BERNAL ROAD STE #8 
SAN JOSE CA 95119 
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MIDLAND FUNDING LLC 
TIMOTHY S BROWN 
10601‐G TIERRASANTA BLVD #4540 
SAN DIEGO CA 92124 
 
MIDLAND FUNDING LLC 
SARAH A ROBINSON‐MCELROY 
10601‐G TIERRASANTA BLVD #4540 
SAN DIEGO CA 92124 
 
CREDTIORS ADJUSTMENT BUREAU INC DBA CAB‐LCF 
C/O KENNETH J FREED ESQ 
LAW OFFICES OF KENNETH J FREED 
14226 VENTURA BLVD  
SHERMAN OAKS CA 91423 
 
CREDTIORS ADJUSTMENT BUREAU INC DBA CAB‐LCF 
C/O KENNETH J FREED ESQ 
LAW OFFICES OF KENNETH J FREED 
PO BOX 5914 
SHERMAN OAKS CA 91423 
 
 
